Case 1:16-cr-10318-RGS Document 27 Filed 07/17/17 Page 1 of 7


                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA, * CRIMINAL NO. 1:16-cr-10318-RGS-1
     Plaintiff            *
                          * BOSTON, MASSACHUSETTS
          v.              * JANUARY 13, 2017
                          *
KURT SANBORN,             *
     Defendant            *
* * * * * * * * * * * * * *

TRANSCRIPT OF INITIAL APPEARANCE RE REVOCATION OF SUPERVISED
                           RELEASE
            BEFORE THE HONORABLE JENNIFER C. BOAL
               UNITED STATES MAGISTRATE JUDGE

     APPEARANCES:

     For the Government:      UNITED STATES ATTORNEY’S OFFICE
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     For the Defendant:       Lauren M. Thomas, Esquire
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          Court Reporter:

          Proceedings recorded by electronic sound recording,
          transcript produced by transcription service.
     Case 1:16-cr-10318-RGS Document 27 Filed 07/17/17 Page 2 of 7

                                                                              2
 1 COURT CALLED INTO SESSION

 2 (1:39:21)

 3               THE CLERK:     Today's January 13, 2017.       We're on

 4 the record in the matter of United States v. Kurt Sanborn,

 5 Case No. 16-CR-10318.

 6               Will counsel please identify themselves for the

 7 record?

 8               MS. HEMANI:     Good afternoon, Your Honor.         Rachel

 9 Hemani for the United States.

10               THE PROBATION OFFICER:       And (inaudible) with the

11 probation office.

12               THE COURT:     Good afternoon.

13               MS. THOMAS:     Good afternoon.     Lauren Thomas on

14 behalf of Mr. Sanborn, who's present.

15               THE COURT:     Good afternoon.

16               Mr. Sanborn, if you could please stand?

17               The purpose of this proceeding is to advise you of

18 the charges that have been filed against you; to advise you

19 of some very important rights, including your right to

20 remain silent and your right to counsel; to consider the

21 appointment of counsel for you; to consider detention; and

22 to set a date if possible for your next court appearance.

23               Your initial appearance is not a trial, and you'll

24 not be asked to comment on the charges that are pending

25 against you.

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                                                                              3
 1               I want to confirm that you understand that you

 2 have the right to remain silent.           You do not have to make a

 3 statement.       Anything that you do say may be held against

 4 you.      If you choose to make a statement or answer any

 5 questions, you may stop answering at any time if you change

 6 your mind.

 7               Do you understand?

 8               THE DEFENDANT:     Yes, Your Honor.

 9               THE COURT:     You also have the right to be

10 represented by an attorney.          You may consult with an

11 attorney before you are asked any questions, and you may

12 have an attorney present while you are questioned.                If you

13 can not afford an attorney, counsel will be appointed for

14 you without charge.

15               Do you understand your right to counsel?

16               THE DEFENDANT:     Yes, Your Honor.

17               THE COURT:     And do you wish to retain an attorney

18 or have the Court appoint one?

19               THE DEFENDANT:     My counsel's present.

20               THE COURT:     You have been charged with violating

21 your conditions of supervised release.            Specifically, you

22 have been charged with violating the condition that you

23 should not commit a federal, state or local crime; you are

24 charged with violating the condition that you should not

25 leave the judicial district without permission of the Court

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 1 or the probation officer; you're charged with violating the

 2 condition that you should answer truthfully all inquiries by

 3 the probation officer and follow the instructions of the

 4 officer; you're charged with violating the condition that

 5 you should notify the probation officer at least ten days

 6 prior to any change in residence or employment; you're also

 7 charged with violating the condition that you should notify

 8 the probation officer within 72 hours of being arrested or

 9 questioned by a law enforcement officer; and you're also

10 charged with violating the condition that you should not

11 incur new credit charges or open additional lines of credit

12 without the approval of the probation officer unless you are

13 in compliance with the installment payment schedule.

14               Do you have a copy of the petition?

15               THE DEFENDANT:     I believe so, yes.

16               MS. THOMAS:     Yes, we do.

17               THE COURT:     Thank you very much.      You may be

18 seated.

19               If the government could please state the maximum

20 potential penalty and its position on detention.

21               MS. HEMANI:     The maximum penalty for this charge

22 is a period of imprisonment of three years, and the

23 government is seeking detention under Rule 32.1.

24               THE COURT:     Ms. Thomas, does your client wish to

25 receive both a preliminary hearing and a detention hearing?

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                                                                             5
 1               I will add that we do not have the final

 2 revocation date from Judge Stearns.            It is Judge Stearns'

 3 practice, as I understand it, that he will not schedule the

 4 final revocation hearing in cases such as these where there

 5 are state criminal charges pending, so the parties will have

 6 to contact him once the state case is resolved.

 7               MS. THOMAS:     Your Honor, I would like to have both

 8 a preliminary and a detention.

 9               I represent Mr. Sanborn in the State case, and I

10 believe that it's going to take a while for that to resolve.

11 There's a lot of different discovery issues, and so I really

12 --

13               I'd want to give him the best opportunity to

14 remain at liberty pending that, because I do think it's a

15 lengthy period of time.

16               THE COURT:     Obviously, if you all would like to

17 get a final before Judge Stearns earlier, you're welcome to

18 ask him for that.        I'm just passing along the information.

19               So what do you have for us, Mr. York, in terms of

20 a detention hearing and a preliminary hearing?

21               THE CLERK:     The Court is available on January 18,

22 starting at 10 a.m.         10 a.m.

23               MS. THOMAS:     I have a meeting in the morning.        I

24 can move it, if necessary.            But if the Court has

25 availability in the afternoon, that would be better for me.

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 1               MS. HEMANI:     I would also prefer the afternoon.       I

 2 have a court appearance in the morning at the Central

 3 Division of the BOSTON Municipal Court.

 4               THE CLERK:     We could do it at 3 p.m.

 5               THE COURT:     I assume that works for both counsel.

 6               MS. THOMAS:     Yes, Your Honor.

 7               MS. HEMANI:     Yes.

 8               THE COURT:     All right.    So I will see everyone at

 9 3 p.m. on Wednesday.         Thank you very much.

10               THE CLERK:     All rise.    Court's in recess.

11         (Court adjourned at 1:44:28 p.m.)

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 1                                CERTIFICATION

 2         I, Judy Bond, a court approved transcriber, certify

 3 that the foregoing is a correct transcript from the official

 4 electronic sound recording of the proceedings in the

 5 above-entitled matter.

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 8                                            July 17, 2017
        Judy Bond
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